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 August 5, 2024

 Via ECF

 Hon. LaShann DeArcy Hall
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re:    United States v. Saracay Lopez, et al., No. 20-228 (S-2) (LDH)

 Dear Judge DeArcy Hall:

         We represent the defendant Oscar Flores-Mejia in the above-captioned matter. We write
 pursuant to the Court’s Order, dated August 1, 2024, in which the Court requested a joint proposed
 briefing schedule for motions in limine. We discussed the briefing schedule with co-defendant
 Juan Amaya-Ramirez and the government, and the parties propose the following joint briefing
 schedule:

            1. Motions in limine to be filed by September 13, 2024

            2. Responses to be filed no later than September 27, 2024

                                                             Respectfully submitted,



                                                             Celia Cohen

 cc: Counsel of Record (via ECF)
